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 4
     Attorney for Defendant
 5   DUANE ALLEN EDDINGS
 6

 7

 8                                  UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         No. 2:09-CR-0074-JAM

12                     Plaintiff,
                                                      STIPULATION AND ORDER RE:
13          v.                                        RESENTENCING HEARING

14   DUANE ALLEN EDDINGS,
                                                      SENTENCING:
15                     Defendant.                     Date: July 21, 2015
                                                      Time: 9:15 a.m.
16                                                    Hon. John A. Mendez

17

18

19
            Defendant Duane Eddings, through counsel, and the United States, through its counsel,
20
     hereby stipulate and request that the scheduled resentencing hearing for defendant Duane Eddings
21
     on July 21, 2015, at 9:15 a.m. remain on the calendar but be converted to a status conference
22
     regarding resentencing to discuss scheduling.
23

24          The reason for this request is that Mr. Eddings is still in prison and has not yet been

25   transported to Sacramento for the resentencing hearing. Once Mr. Eddings arrives in
26   Sacramento, counsel needs time to review the revised presentence report and other materials with
27
     him in order to file any objections and/or sentencing memorandum and to prepare for the
28
                                                      1
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 1   resentencing hearing.
 2                                            Respectfully submitted,
 3

 4          Dated: July 15, 2015

 5                                            /s/ John Balazs
                                              JOHN BALAZS
 6
                                              Attorney for Defendant
 7                                            DUANE ALLEN EDDINGS

 8

 9
                                              BENJAMIN B. WAGNER
10                                            U.S. Attorney
            Dated: July 15, 2015
11
                                       By:    /s/ Michael Anderson
12                                            MICHAEL ANDERSON
                                              Assistant U.S. Attorney
13

14
                                       ORDER
15

16          IT IS SO ORDERED.
17          Dated: July 16, 2015
18

19                                            /s/ John A. Mendez______
20                                            Hon. John A. Mendez
                                              U.S. District Court Judge
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